8:10-cr-00158-LSC-SMB   Doc # 533   Filed: 11/06/12    Page 1 of 1 - Page ID # 1411



           IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR158
                              )
          v.                  )
                              )
SANDRA OLIVIA MEDINA,         )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for permission to seal (Filing No. 529).              The Court finds the

motion should be granted.      Accordingly,

           IT IS ORDERED that defendant’s motion for permission to

seal is granted; Filing Nos. 530, 531 and 532 shall remain sealed

pending further order of the Court.

           DATED this 6th day of November, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
